           Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 1 of 12




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


FRANCIS DAMIEN BLOCK,

              Plaintiff,

      v.                                            Civil Action No. 1:19-cv-03073 (CJN)

UNITED STATES DEPARTMENT OF
JUSTICE, et al.,

              Defendants.


                                 MEMORANDUM OPINION

       This matter is before the Court on Defendants’ Motion for Summary Judgment, ECF

No. 23, and Plaintiff’s Motion to Take Judicial Notice, ECF No. 31.

                                          Background

       Francis Damien Block submitted a FOIA and Privacy Act request to the Department of

Justice seeking “all records concerning [Francis Damien Block] held in the office of the U.S.

Attorney in the Western District of Michigan.” Declaration of Kara Cain ¶ 5, Att. B (FOIA

request), ECF No. 23-2. The Executive Office of United States Attorney’s (EOUSA) directed that

U.S. Attorney’s Office to search for responsive records. Id. ¶ 7. EOUSA reviewed the records

that were located and on November 12, 2019 sent to Block a final response letter with

corresponding records. EOUSA noted in the letter that, pursuant to FOIA Exemptions 3, 5, 6, and

7(C), it had included withheld portions of 203 pages and the entirety of another 471 pages of

records. Id. ¶¶ 7, 9. Nearly three hundred of those pages had originated with the Drug Enforcement

Agency, and EOUSA accordingly referred them to the DEA. Declaration of Angela Hertel ¶¶ 9–

10. On June 30, 2019, the DEA released 1 page in full, partially released 149 pages, withheld 130


                                                1
         Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 2 of 12




pages in full, and noted 9 pages were duplicates. Id. ¶ 11. All of these records (whether released,

redacted or withheld) are, according to the DEA, investigative records maintained in the DEA’s

Investigative Reporting and Filing System. Id. ¶¶ 12–14.

       Thereafter, Block filed this suit pro se, seeking release of all records requested in his FOIA

request as well as a declaratory judgment that defendants willfully violated both FOIA and the

Privacy Act. Compl., ECF No. 1. The government then filed a Motion for Summary Judgment

on all claims. Defs. Mot. for Summ. J., ECF No. 23. The Court subsequently issued what is known

as a Fox-Neal Order, which advised Block that failing to respond to the arguments in the

government’s motion could result in the Court granting the motion and dismissing the case. See

Order at 6–8, ECF No. 29 (citing Fox v. Strickland, 837 F.2d 507 (D.C. Cir. 1988) (per curiam);

Neal v. Kelly, 936 F.2d 453 (D.C. Cir. 1992)). Block filed an opposition, exclusively (or at least

primarily) arguing that Defendants failed to provide a Vaughn Index for the records referred to the

DEA. Pl. Opp. at 3–4. Defendants filed a reply and, following further order from the Court, later

lodged a Vaughn index for those records. ECF Nos. 33, 34-1. The Court then gave Block an

opportunity to supplement his response to Defendants’ Motion for Summary Judgment, see Minute

Order of January 14, 2022, but he did not do so.

                                        Legal Standards

       Summary judgment is appropriate when the pleadings and evidence “show[] that there is

no genuine issue as to any material fact and that the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). A genuine issue

of material fact is one that “might affect the outcome of the suit under the governing law.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The party seeking summary judgment

must demonstrate the absence of a genuine issue of material fact. See Celotex, 477 U.S. at 322.




                                                   2
          Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 3 of 12




Once the moving party has met its burden, the nonmoving party “may not rest upon the mere

allegations or denials of his pleading, but . . . must set forth specific facts showing that there is a

genuine issue for trial.” Id. n. 3 (quoting Fed. R. Civ. P. 56(e)).

         Even if the non-movant fails to respond to a motion for summary judgment, the Court

cannot grant the motion on the sole basis that it was conceded. Winston & Strawn, LLP v. McLean,

843 F.3d 503, 505 (D.C. Cir. 2016) (“Under the Federal Rules of Civil Procedure, a motion for

summary judgment cannot be ‘conceded’ for want of opposition.”); but see U.S. Const. art. III, § 2

(limiting courts to decide adversarial “cases” and “controversies.”); Fed. R. Civ. P. 56(e) (“If a

party fails to properly support an assertion of fact or fails to properly address another party’s

assertion of fact . . . the court may . . . (2) consider the fact undisputed for purposes of the motion”).

Other judges in this district have concluded that this limitation on concessions does not apply

where, as here, a non-moving party responds to some, but not all, parts of a motion for summary

judgment. See, e.g., Rojas-Vega v. United States Immigr. & Customs Enf’t, 302 F. Supp. 3d 300,

309 (D.D.C. 2018). Other judges in this district have similarly concluded that, if a FOIA plaintiff

fails to respond to the government’s summary judgment argument, they need not “assess the legal

sufficiency of each and every exemption invoked by the government in FOIA cases.” Shapiro v.

DOJ, 239 F. Supp. 3d 100, 105–06 n.1 (D.D.C. 2017) (concluding that a court may infer from the

non-opposition of particular withholdings or redactions that the plaintiff no longer seeks those

documents.); Schaerr v. United States Dep’t of Just., 435 F. Supp. 3d 99, 109 (D.D.C. 2020).

                                                Analysis

    I.      Adequacy of Search

         In responding to a FOIA request, an agency must conduct a reasonable search for

responsive records. Oglesby v. Dep’t of Army, 920 F.2d 57, 68 (D.C. Cir. 1990). “[A]ffidavits




                                                    3
          Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 4 of 12




that explain in reasonable detail the scope and method of the search conducted by the agency will

suffice to demonstrate compliance [with FOIA].’” Wolf v. CIA, 569 F. Supp. 2d 1, 7 (D.D.C. 2008)

(quoting Perry v. Block, 684 F.2d 121, 127 (D.C. Cir. 1982)).

         Here, the government has proffered affidavits describing the scope of the search. In brief,

EOUSA had the U.S. Attorney’s Office perform a search for records keyed to Block’s name. Cain

Decl. ¶¶ 6, 10. EOUSA then reviewed all such documents or referred them to the relevant sub-

agency for processing. Id. ¶ 8. EOUSA also produced the entire electronic file for Block’s cases,

including emails, correspondence, and documents. Block does not contest the adequacy of the

search. Regardless, the Court has independently reviewed the motion and concludes that the

government has provided undisputed evidence that its search was reasonable.

   II.      Vaughn Index

         The Court of Appeals has held that FOIA requires an agency in possession of material it

considers exempt from disclosure to provide the requester with a description of each document

being withheld and an explanation of the reason for the agency’s nondisclosure. Oglesby v. U.S.

Dep’t of Army, 79 F.3d 1172, 1176 (D.C. Cir. 1996) (citing King v. DOJ, 830 F.2d 210, 224 (D.C.

Cir. 1987); Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973)). What is known as a Vaughn index

typically must describe each withholding and state why the exemption applies. Founding Church

of Scientology v. Bell, 603 F.2d 945, 949 (D.C. Cir. 1979). Such an index “permit[s] adequate

adversary testing of the agency’s claimed right to an exemption.” Nat’l Treasury Emps. Union v.

U.S. Customs Serv., 802 F.2d 525, 527 (D.C. Cir. 1986).

         For the EOUSA records, the government provided a Vaughn index as an attachment to its

Motion for Summary Judgment. ECF No. 23-3. Although there is some ambiguity in his

opposition, it appears Block does not object to the adequacy of the Vaughn index for those records.




                                                  4
        Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 5 of 12




In any event, the EOUSA Vaughn index describes each record, notes the reasons for withholdings,

and provides comments explaining why the applicable exemptions apply. ECF No. 23-3. The

government also provided a declaration that supplemented these explanations. See Cain Decl. The

Court concludes that the government has met its obligation to provide a Vaughn index as to the

EOUSA withholdings.

       As to DEA records, the government initially failed to provide a Vaughn index. Its Motion

for Summary Judgment included a declaration describing the exemptions the government was

asserting but did not include a corresponding index. See Hertel Decl., ECF No. 23-4. Block’s

opposition to the motion primarily—if not exclusively—objected to the DEA’s failure to provide

a Vaughn index. ECF No. 30. The government then requested and the Court granted an extension

of time to file a reply in order to allow the filing of one. See ECF No. 32; Minute Order of

September 10, 2021. The government then lodged again its Vaughn index for EOUSA records but

failed to provide one for DEA records. ECF No. 33. The Court then ordered the government to

file the missing Vaughn index, see Minute Order of December 22, 2021, which it eventually did,

see DEA Vaughn Index, ECF No. 34-1. The Court then provided Block another opportunity to

file a response to the Defendant’s Motion for Summary Judgment in light of the DEA Vaughn

index, see Minute Order of January 14, 2022, but Block filed no supplemental opposition.

       The Court concludes that the DEA’s Vaughn index is now adequate. It describes each

record, notes the reasons for the withholdings, and provides comments explaining why the

applicable exemptions apply. While the government failed to include the Vaughn index in its

initial motion and thereby deprived Block of the opportunity to contest the withholdings during

initial briefing, the Court provided Block another opportunity to contest the government’s

withholdings after the index was filed. That is enough to meet the government’s Vaughn




                                               5
           Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 6 of 12




obligations. See Oglesby, 79 F.3d at 1176 (requiring a Vaughn index “serves the purpose of

providing the requestor with a realistic opportunity to challenge the agency’s decision.”).

   III.      Withholdings and Redactions

          FOIA mandates disclosure of government records unless the record or a portion thereof

falls within one of FOIA’s enumerated exemptions. See 5 U.S.C. § 552(b). The Court may only

compel disclosure of records that do not fall within an exemption. Kissinger v. Reporters Comm.

for Freedom of the Press, 445 U.S. 136, 150 (1980). “[A]n agency’s justification for invoking a

FOIA exemption is sufficient if it appears ‘logical’ or ‘plausible.’” Media Research Ctr. v. U.S.

Dep’t. of Justice, 818 F. Supp. 2d 131, 137 (D.D.C. 2011) (quoting Larson v. Dep’t of State, 565

F.3d 857, 862 (D.C. Cir. 2009)); ACLU v. Dep’t of Def., 628 F.3d 612, 624 (D.C. Cir. 2011).

          In his opposition, Block correctly notes that the government has withheld “hundreds of

responsive records,” but he does not contest any particular withholding. Block Opp. at 3. And,

when given another chance to oppose the withholding of DEA records, Block did not file an

opposition. As noted, the Court need not “assess the legal sufficiency of each and every exemption

invoked by the government in FOIA cases.” Shapiro v. DOJ, 239 F. Supp. 3d 100, 105–06 n.1

(D.D.C. 2017) (concluding that a court may infer from the non-opposition of particular

withholdings or redactions that the plaintiff no longer seeks those documents.); Schaerr v. United

States Dep’t of Just., 435 F. Supp. 3d 99, 109 (D.D.C. 2020). Because Block failed to oppose the

government’s application of a particular withholding or redaction, the Court infers that he no

longer seeks those documents (and thus that there is no longer any controversy as to them).

Regardless, the government has met its burden in justifying its withholdings and redactions.




                                                 6
           Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 7 of 12




       A. FOIA Exemption 3

       FOIA Exemption 3 permits an agency to withhold records “specifically exempted from

disclosure by statute” provided that the statute either “(i) requires that the matters be withheld from

the public in such a manner as to leave no discretion on the issue; or (ii) establishes particular

criteria for withholding or refers to particular types of matters to be withheld.” 5 U.S.C.

§ 552(b)(3). Thus, the issue for the Court “is the existence of a relevant statute and the inclusion

of withheld material within the statute’s coverage.” Morley v. CIA, 508 F.3d 1108, 1126 (D.C.

Cir. 2007). Here, the government asserted Exemption 3 to withhold grand jury information under

Federal Rule of Criminal Procedure 6(e). Rule 6(e) qualifies as an Exemption 3 statute. See, e.g.

Lopez v. Dep’t of Justice, 393 F.3d 1345, 1348 (D.C. Cir. 2005). The government applied this

exemption to grand jury materials and other records that would disclose grand jury proceedings.

Block has not objected to these withholdings. The Court concludes that the government has met

its burden with regard to the Rule 6(e) records withheld through Exemption 3.1

       B. FOIA Exemption 5

       FOIA Exemption 5 protects “inter-agency or intra-agency memorandums or letters which

would not be available by law to a party other than an agency in litigation with the agency.” 5

U.S.C. § 552(b)(5). This exemption shields documents that would be privileged in the civil



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          The EOUSA Vaughn index and the Cain Declaration assert the government also withheld
plea information under Federal Rule of Evidence 408 and the Presentence Investigation Report
under Federal Rule of Criminal Procedure 32(c)(3)(A). The government cites to Rule 32(c)(3)(A)
as an Exemption 3 statute, but that section of Rule 32 no longer exists. The Supreme Court has
clearly stated that the rest of Rule 32 was not a withholding statute, and the same logic applies to
the current version. See Department of Justice v. Julian, 486 U.S. 1, 8–11 (1988); Corley v. Dep’t
of Just., 998 F.3d 981, 986 (D.C. Cir. 2021). And Federal Rule of Evidence 408 refers only to the
admissibility of plea offers—it is not a withholding statute under Exemption 3. Nonetheless, based
on Block’s non-opposition, the Court infers he does not seek those records. See Shapiro, 239 F.
Supp. 3d at 106 n.1.


                                                  7
         Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 8 of 12




discovery context, including materials protected by the attorney-client privilege, the attorney

work-product doctrine, and the executive deliberative process privilege. NLRB v. Sears, Roebuck

& Co., 421 U.S. 132, 149 (1975); Judicial Watch, Inc. v. Dep’t of Justice, 365 F.3d 1108, 1113

(D.C. Cir. 2004). The deliberative process privilege applies to documents that are both pre-

decisional and deliberative. Access Reports v. Dep’t of Justice, 926 F.2d 1192, 1194 (D.C. Cir.

1991). Here, EOUSA withheld or redacted a handful of attorney emails regarding ongoing

litigation, asserting the work product doctrine or the deliberative process privilege or both. Cain

Decl. ¶ 16.   Block has not objected to these withholdings.        The Court concludes that the

government has met its burden with regard to the Exemption 5 withholdings.

       C. FOIA Exemption 6

       FOIA Exemption 6 covers “personnel and medical files and similar files the disclosure of

which would constitute a clearly unwarranted invasion of personal privacy. 5 U.S.C. § 552(b)(6).

This exemption has been broadly construed “to protect individuals from a wide range of

embarrassing disclosures” pertaining to the intimate details of their lives. Rural Housing Alliance

v. Dep’t of Agric., 498 F.2d 73, 77 (D.C. Cir. 1974).         To determine whether the agency

appropriately withheld names and addresses, the court must balance the privacy interests involved

against the public interest represented by the basic purpose of FOIA—namely, to open agency

action to the light of public scrutiny. Dep’t of Air Force v. Rose, 425 U.S. 352, 372 (1976). Courts

have routinely refused to recognize any public interest in the disclosure of information solely to

assist a defendant challenging his conviction. See, e.g., Oguaju v. United States, 288 F.3d 448,

450 (D.C. Cir. 2002); Neely v. FBI, 208 F.3d 461, 464 (4th Cir. 2000).

       Here, the government withheld or redacted information in EOUSA documents pertaining

to co-defendants and counsel, as well as an employee’s personal information. Cain Decl. ¶¶ 18–




                                                 8
         Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 9 of 12




19. And, for DEA records, the government asserted Exemption 6 (in combination with Exemption

7(c)) to withhold 130 pages in full because they are investigatory records in which Block is not

the subject. Hertel Decl. ¶¶ 19–21. The government also redacted personal information of third

parties found on 148 pages related to investigation reports, warrants and affidavits, and various

criminal reports. Id. ¶ 21. Block has not objected to these withholdings. The Court concludes

that the government has met its burden with regard to the Exemption 6 withholdings.

       D. FOIA Exemption 7

       FOIA Exemption 7 protects from disclosure “records or information compiled for law

enforcement purposes, but only to the extent that the production of such law enforcement records

or information” would result in one of several specified harms. 5 U.S.C. § 552(b)(7). The relevant

records were all compiled for law enforcement purposes.

       Exemption 7(C) covers records or information compiled for law enforcement purposes

when disclosure “could reasonably be expected to constitute an unwarranted invasion of personal

privacy.” 5 U.S.C. § 552 (b)(7)(C). This is a broader standard than Exemption 6 and was used

largely concurrently with that exemption. The Court concludes that the government has met its

burden under this provision for the same reasons.

       Exemption 7(D) covers records or information that “could reasonably be expected to

disclose the identity of a confidential source” and records “compiled by criminal law enforcement

authorit[ies] in the course of a criminal investigation” if producing the records “could reasonably

be expected to disclose . . . information furnished by a confidential source.” 5 U.S.C. §

552(b)(7)(D). In determining the applicability of the exemption, “the question is . . . whether the

particular source spoke with an understanding that the communication would remain confidential.”

Dep’t of Justice v. Landano, 508 U.S. 165, 172 (1993) (emphasis omitted). The government




                                                9
        Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 10 of 12




invoked 7(D) to withhold 29 pages of reports that include information about or derived from

DEA’s coded confidential sources. Hertel Decl. ¶ 23–26. Block has not objected to these

withholdings. The Court concludes that the government has met its burden with regard to the

Exemption 7(D) withholdings.

       Exemption 7(E) covers records or information “compiled for law enforcement purposes,

but only to the extent that the production of such law enforcement records or information . . . would

disclose techniques and procedures for law enforcement investigations or prosecutions, or would

disclose guidelines for law enforcement investigations or prosecutions if such disclosure could

reasonably be expected to risk circumvention of the law.” 5 U.S.C. § 552(b)(7)(E); Blackwell v.

FBI, 646 F.3d 37, 41 (D.C. Cir. 2011). Under this exemption, the government redacted portions

of 114 pages of DEA records, including records from various investigation reports and warrants.

Hertel Decl. ¶ 28–29. Block has not objected to these withholdings. The Court concludes that the

government has met its burden with regard to the Exemption 7(E) withholdings.

       Exemption 7(F) covers records or information compiled for law enforcement purposes to

the extent that disclosure “could reasonably be expected to endanger the life or physical safety of

any individual.” 5 U.S.C. § 552(b)(7)(F); see also Blanton v. of Justice, 182 F. Supp. 2d 81, 86–

87 (D.D.C. 2002). Under this exemption, the government redacted portions of 147 pages of DEA

records, including third-party personal information in various reports and search warrants. These

redactions were usually made in conjunction with Exemptions 7(C) and 6. Hertel Decl. ¶ 35.

These redactions are all in relation to the drug trade, which is often the subject to violence. Id.

¶¶ 34–38. Block has not objected to these withholdings. The Court concludes that the government

has met its burden with regard to the Exemption 7(F) withholdings.




                                                 10
         Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 11 of 12




         E. Privacy Act Exemption (j)(2)

         The records were also processed under the Privacy Act. Privacy Act Exemption (j)(2)

allows agencies “to exempt any system of records within the agency . . . if the system of records

is . . . maintained by an agency . . . which performs as its principal function any activity pertaining

to the enforcement of criminal law.” 5 U.S.C. § 552a(j)(2). Here the DEA documents are

maintained in the DEA Investigative Reporting and Filing System, for which access is denied via

exception (j)(2) as per 28 C.F.R. § 16.98. Hertel Decl. ¶ 12–14. Block has not objected to these

withholdings. The Court concludes that the government has met its burden with regard to the

Privacy Act withholdings.

   IV.      Segregability

         Under FOIA, if a record contains information exempt from disclosure, any “reasonably

segregable,” non-exempt information must be disclosed after redaction of the exempt information.

5 U.S.C. § 552(b). Non-exempt portions of records need not be disclosed if they are “inextricably

intertwined with exempt portions.” Mead Data Central v. U.S. Dep’t. of Air Force, 566 F.2d 242,

260 (D.C. Cir. 1977). To establish that all reasonably segregable, non-exempt information has

been disclosed, an agency need only show “with ‘reasonable specificity’” that the information it

has withheld cannot be further segregated. Armstrong v. Exec. Off. of the President, 97 F.3d 575,

578–79 (D.C. Cir. 1996). “Agencies are entitled to a presumption that they complied with the

obligation to disclose reasonably segregable material,” which must be overcome by some

“quantum of evidence” by the requester. Sussman v. U.S. Marshals Serv., 494 F.3d 1106, 1117

(D.C. Cir. 2007).

         The government has presented affidavits that persons experienced in FOIA have reviewed

the documents and concluded there are no reasonably segregable non-exempt portions that can be




                                                  11
           Case 1:19-cv-03073-CJN Document 35 Filed 03/08/22 Page 12 of 12




released. Cain Decl. ¶¶ 22–24; Hertel Decl. ¶¶ 39–40. The high number of documents that were

only partially redacted rather than withheld in full adds support to the government’s position. In

his opposition, Block complained that, of those documents that were released, the “vast majority

[are] completely ‘redacted[.]’” Opp. at 3. But Block has not objected to any particular redaction,

nor has he presented any quantum of evidence that the government withheld reasonably segregable

materials. See Sussman, 494 F.3d at 1117. The Court concludes that the government has met its

burden with regard to segregability. 2

                                           Conclusion

       For the forgoing reasons the government’s motion for summary judgment is GRANTED.

An Order will be issued contemporaneously with this opinion.




DATE: March 8, 2022
                                                            CARL J. NICHOLS
                                                            United States District Judge




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          To the extent Plaintiff’s opposition to the Motion for Summary Judgment included
another motion requesting the Court to take judicial notice, see ECF No. 31, that motion is denied.
The filing includes none of the “necessary information” of which the Court could take notice. Fed.
R. Evid. 201(c)(2); see Pl. Opp. at 5.


                                                12
